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                              Exhibit 5
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK


TY CLEVENGER,

          Plaintiff,

vs.

U.S. DEPARTMENT OF JUSTICE,                           Case No. 1:18-cv-1568-LB
FEDERAL BUREAU OF
INVESTIATION, and NATIONAL
SECURITY AGENCY,

         Defendants


 MOTION FOR EVIDENTIARY HEARING and MOTION FOR IN CAMERA REVIEW

       NOW COMES the Plaintiff, Ty Clevenger, moving the Court to grant an evidentiary

hearing and to review certain documents in camera:

                                           Introduction

       On January 27, 2020 the Plaintiff filed a copy of a letter with a URL link to emails that

were provided by the FBI to a non-profit, Judicial Watch. See January 27, 2020 Letter (Doc. No.

188-1). The Plaintiff’s letter was addressed to federal prosecutors and the inspector general of

the U.S. Department of Justice, and it alleged that an affidavit submitted to this court by FBI

Section Chief David Mr. Hardy was inaccurate and misleading. Id. The Plaintiff argued that the

emails produced to Judicial Watch proved that the FBI had withheld records that were responsive

to the Plaintiff’s September 1, 2017 Freedom of Information Act (“FOIA”) request. Id. On

January 29, 2020, Asst. U.S. Attorney Kathleen Mahoney, counsel for the Defendants, filed a

letter with the Court wherein she argued that, notwithstanding those clearly responsive emails,

and notwithstanding the fact that the FBI had failed to produce them, the FBI had conducted a




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reasonable search and had done nothing wrong. See January 29, 2020 Letter from Kathleen

Mahoney to Judge Lois Bloom (“Mahoney Letter”)(Doc. No. 52).

                                             Argument

       Ms. Mahoney’s letter proves one thing very clearly: the FBI has been playing word

games in an attempt to conceal responsive records. Consider the following excerpt:

       [T]he FBI met its burden of showing that its search was adequate and, therefore, is
       entitled to summary judgment. See Defs. Mem. at 17-22; Defs. Reply at 3-9. Specifically,
       the FBI searched its Central Records System (“CRS”) recordkeeping system but did not
       locate any main file (file about Rich) or reference file (file with a cross-reference to
       Rich).4 Defs. 56.1 ¶¶ 23-32; see also Declaration of David M. Hardy dated October 3,
       2018 (Dkt. #16-1) (“Hardy Decl.”) ¶¶ 19-21. The searches of the CRS would have
       located any emails of investigative significance. Hardy Decl. ¶ 24. The CRS searches also
       would have identified any Computer Analysis and Response Team (“CART”) records.
       Defs. 56.1 ¶ 32; see Hardy Decl. n.6. In addition to the CRS searches, the FBI
       Washington, D.C. field office was contacted to ascertain whether it had any records; it
       did not. Defs. 56.1 ¶¶ 33, 36; see also Hardy Decl. ¶¶ 22-23; Second Declaration of
       David M. Hardy dated July 29, 2019 (Dkt. #37) (“Second Hardy Decl.”) ¶ 32 n.9.

Mahoney Letter, p. 2 (emphasis added). The Plaintiff, however, did not limit his FOIA request to

“main files,” “reference files,” or “emails of investigative significance.” Instead, his FOIA

request reads as follows:

       I request the opportunity to view all records and correspondence pertaining to Seth
       Conrad Rich (DOB: January 3, 1989), who was murdered in the District of Columbia on
       or about July 10, 2016. This request includes, but is not limited to, any records or
       correspondence resulting from any investigation of his murder.

See September 1, 2017 FOIA Request Letter (Doc. No. 16-1, internal exhibit “A”). The emails

attached to Ms. Mahoney’s letter clearly are “correspondence pertaining to Seth Conrad Rich.”

See August 10, 2016 Email String (Doc. No. 52-1, internal exhibit “B”). The name “Seth Rich”

even appears in the email header. Id.

       Under the circumstances, it is amazing that the FBI can argue with a straight face that it

conducted a reasonable search for records:



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       [A]n agency must search all locations likely to contain responsive records; not simply
       where the records are “most likely” to be found. See Schwartz, 2017 WL 78482, at *7,
       2017 U.S. Dist. LEXIS 2316, at *19-20; Nat'l Day Laborer Org. Network v. U.S.
       Immigration & Customs Enf't Agency, 877 F. Supp. 2d 87, 98 (S.D.N.Y. 2012) (“[T]he
       government is not required to search only the files ... ‘most likely’ to have responsive
       records; it must also search other locations that are reasonably likely to contain
       records.”)(citations omitted) DiBacco v. United States Army, 795 F.3d 178, 190 (D.C.
       Cir. 2015) (“ ‘[M]ost likely’ is not the relevant metric”)(citations omitted); Mobley v.
       C.I.A., 806 F.3d 568, 582, 420 U.S. App. D.C. 108 (D.C. Cir. 2015) (“Had the [agency]
       only searched the record systems ‘most likely’ to contain responsive records, its search
       would be inadequate.”).

Knight First Amendment Inst. at Columbia Univ. v. U.S. Dep't of Homeland Sec., 407 F. Supp.

3d 311, 324 (S.D.N.Y. 2019). The Plaintiff previously informed the Defendants that responsive

emails would likely be found in the Washington Field Office (“WFO”). See October 23, 2018

Declaration of David M. Hardy 9-10, ¶¶22-24. Mr. Hardy’s office acknowledged this, reached

out to the WFO, and was informed that the WFO had responded to queries about Seth Rich, yet

Mr. Hardy and his staff arbitrarily refused to search for emails in that office. Id. As we now

know from the face of the emails attached to Ms. Mahoney’s letter, they originated exactly where

the Plaintiff said they would be found, i.e., in the WFO. See August 10, 2016 Email String (Doc.

No. 52-1, internal exhibit “B”). Having been caught with its pants down, one might expect the

FBI to acknowledge that it made a mistake and offer to search the email system in the WFO.

Instead, the FBI stubbornly insists that it conducted a reasonable search, evidence

notwithstanding.

       Ms. Mahoney’s letter places great emphasis on the fact that the unredacted portions of the

FBI emails do not undermine the FBI’s official narrative, i.e., that the FBI did not investigate the

Rich murder and therefore does not have any “substantive investigative emails,” but it bears

repeating that the Plaintiff did not limit his request to “investigative” emails, “substantive” or

otherwise. Furthermore, the redactions themselves greatly undermine the arguments in Ms.



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Mahoney’s letter. Consider Exhibit A (Doc. No. 52-1) to her letter, which explains the purported

basis for each redaction, and note how often the code “b7E” appears in Exhibit B to that letter.

According to Exhibit A, the code “b7E” means the redacted information “would disclose

techniques and procedures for law enforcement investigations and prosecutions, or would

disclose guidelines for law enforcement investigations or prosecutions if such disclosure could

reasonably expected to risk circumvention of the law.” If there is and never has been an

investigation pertaining to Seth Rich, then why would the FBI be citing an exemption pertaining

to investigations and prosecutions? Equally troubling are exemptions “b6” and “b7C,” which

pertain to “an unwarranted invasion of personal privacy.” If, as the emails themselves indicate,

they were written by government employees on government time using government computers,

it’s hard to imagine how disclosure could constitute “an unwarranted invasion of personal

privacy.”

       Even if the FBI is asserting privacy rights on behalf of the deceased, i.e., Mr. Rich, that

argument is very weak.

       The U.S. Court of Appeals for the D.C. Circuit, which writes frequently on FOIA issues,
       has long held that with respect to FOIA, “the death of the subject of personal information
       does diminish to some extent the privacy interest in that information, though it by no
       means extinguishes that interest.” Schrecker v. U.S. Dep't of Justice, 254 F.3d 162, 166
       (D.C. Cir. 2001). The Department of Justice has specifically recognized that “[a]n
       individual who is deceased has greatly diminished personal privacy interests in the
       context of the FOIA.” U.S. Dep't of Justice, Guide to the Freedom of Information Act:
       Exemption 6, at 37 (2014). “Death clearly matters,” and “[a] court balancing public
       interests in disclosure against privacy interests must therefore make a reasonable effort to
       account for the death of a person on whose behalf the government invokes exemption
       7(C).” Campbell v. U.S. Dep't of Justice, 164 F.3d 20, 33 (D.C. Cir. 1998), as amended
       (Mar. 3, 1999).

Wessler v. United States Dep't of Justice, 381 F. Supp. 3d 253, 259 (S.D.N.Y. 2019). And this is

not the first time that Mr. Hardy has made a bogus assertion of a privacy exemption. As




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referenced in the PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY

JUDGMENT and PLAINTIFF’S MOTION TO ENJOIN COMPLIANCE AND PERMIT DISCOVERY (Doc. No.

32), it was Mr. Hardy who refused to produce documents about Hillary Clinton’s secret email

servers on the grounds that it was not a matter of public interest and might violate her privacy.

See August 28, 2017 Letter from David M. Hardy to Ty Clevenger (Exhibit 1).1 That laughable

assertion made national news, see, e.g., Stephan Dinan, “FBI says lack of public interest in

Hillary emails justifies withholding documents,” August 29, 2017 The Washington Times

(https://www.washingtontimes.com/news/2017/aug/29/fbi-lack-public-interest-emails-justifies-

withhold/), and it was later overturned. See October 2, 2017 Letter from Sean R. O'Neill to Ty

Clevenger (Exhibit 2).

        The Court will note some famous (or, more accurately, infamous) names in the emails

attached to Ms. Mahoney’s letter, specifically Peter Strzok and Lisa Page. Their names are

practically synonymous with corruption at the top levels of the FBI, and particularly concerning

the “Russian collusion” investigation of the Trump Administration. The Plaintiff requests that

the Court take judicial notice of three reports from the Office of the Inspector General for the

Department of Justice: “A Review of Various Actions by the Federal Bureau of Investigation and

Department of Justice in Advance of the 2016 Election,” June 2018

(https://www.justice.gov/file/1071991/download); “Report of Investigation:

Recovery of Text Messages From Certain FBI Mobile Devices,” December 2018

(https://oig.justice.gov/reports/2018/i-2018-003523.pdf); and Review of Four FISA Applications

and Other Aspects of the FBI’s Crossfire Hurricane Investigation, December 2019

1
  As witnessed by his electronic signature on this document, Ty Clevenger declares under penalty of
perjury under the laws of the United States (1) that his factual representations in this motion are true and
correct and (2) that the exhibits filed with this motion are true and correct copies of the documents that he
represents them to be.



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(https://oig.justice.gov/reports/2019/o20012.pdf).2 The foregoing reports outline rampant

misconduct by Mr. Strzok and Ms. Page, and their involvement alone should raise questions

about why the FBI is trying so hard to hide responsive documents in this case. As outlined in the

December 2019 report, Mr. Strzok and Ms. Page were involved in perpetrating an enormous and

systematic fraud on a federal court related to the “Russian collusion” investigation. Meanwhile,

litigation in multiple courts contests whether Seth Rich, rather than Russian hackers, was the

source of Democratic National Committee emails published by Wikileaks in 2016. See Aaron

Rich v. Edward Butowsky, et al., Case No. 1:18-cv-00681 (D.D.C.); Joel and Mary Rich v. Fox

News Network, LLC, Case No. 1:18-cv-02223 (S.D.N.Y.); Edward Butowsky v. David Folkenflik,

et al., Case No. 4:18-cv-00442 (E.D. Tex.); and Edward Butowsky v. Michael Gottlieb, et al.,

Case No. 4:19-cv-00180 (E.D. Tex.). In other words, the Seth Rich emails are directly related to

the fraudulent “Russian collusion” investigation, and Mr. Strzok, Ms. Page, and the FBI itself

have already shown great willingness to lie and cheat in order to conceal their misconduct during

that investigation, even to the point of perpetrating frauds on the court. Insofar as they have

perpetrated frauds on the court in other matters related to “Russian collusion,” it’s no stretch to

think they would do the same in this case, thus any presumption of good faith has been

obliterated by Mr. Strzok, Ms. Page, and the corrupt FBI leadership.

        And there’s more. Before filing this motion, the Plaintiff inquired about whether the

Defendants would oppose it. The January 27, 2020 email string between the Plaintiff and Ms.

Mahoney is revealing:

         [Clevenger]: I plan to file a supplemental motion to enjoin compliance, and I intend to
        request an evidentiary hearing or deposition of David Hardy. I also intend to ask the court


2
 The Plaintiff submits that these reports are party admissions pursuant to F.R.E. 801(d)(2) insofar as the
Department of Justice is a party to this case, and the FBI is a subsidiary of that department.



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       to review the FBI's email redactions in camera. Please let me know whether your clients
       intend to oppose. Thank you.

       [Mahoney]: Yes, we will oppose such a motion.

       [Clevenger]: For purposes of clarity, I understand your letter as acknowledging that the
       emails in your exhibits are indeed FBI emails (albeit redacted). Is that correct? I ask
       because I'm wondering if I still need to get a declaration from Judicial Watch.

       [Mahoney]: The only reasonable interpretation of my letter is that it was enclosing a
       print-out of the document at the link that you cited.

       [Clevenger]: I respectfully disagree. Here is an excerpt from Page 2 of your letter:
       The “new evidence” to which Plaintiff alludes (Dkt. #51-1 at 1) fails to show that the FBI
       did not conduct an adequate search or to justify discovery. The email -- conspicuously
       absent from Plaintiff’s filing -- was released by the FBI in response to another
       requester’s FOIA request.
       Was that an accurate representation to the court or was it not?

       [Mahoney]: Are you saying that the FBI did not send those documents to Judicial Watch?

       [Clevenger]: No, exactly the opposite. I believe the FBI did produce those documents to
       Judicial Watch, just as your letter states. I'm simply asking whether it is safe to tell the
       court that your client is stipulating that it did produce the emails to Judicial Watch. I ask
       because thus far Judicial Watch has been unwilling to produce a declaration.

       [Mahoney]: The FBI is not “stipulating” to anything.

January 30, 2020 Email exchange between Ty Clevenger and Kathleen Mahoney (Exhibit 3). If

the FBI has been acting in good faith, as it claims, then why such obstinance? Either the emails

that Ms. Mahoney filed with the Court were produced by the FBI in response to another FOIA

request, as her letter claims, or her letter to the Court was not truthful. There are no other

alternatives. The Plaintiff contends that the FBI, whether it intended to or not, has stipulated that

the emails attached to Ms. Mahoney’s letter are exactly what she represented them to be.

                                             Conclusion

       The FBI should be ordered to produce unredacted copies of the emails attached to Ms.

Mahoney’s letter for in camera review. The FBI should be further ordered to produce David M.



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Hardy for an evidentiary hearing to be scheduled by the Court. In the alternative, the FBI should

be directed to produce Mr. Hardy for a deposition to be conducted at the FBI’s expense.

                                             Respectfully submitted,

                                             /s/ Ty Clevenger
                                             Ty Clevenger
                                             Texas Bar No. 24034380
                                             P.O. Box 20753
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                                             tyclevenger@yahoo.com

                                             PLAINTIFF PRO SE




                                CERTIFICATE OF SERVICE

       I certify that on February 3, 2020, I filed this document with the Court's ECF system,
which should result in automatic notification to Kathleen A. Mahoney, counsel for the
Defendants, at kathleen.mahoney@usdoj.gov.


                                             /s/ Ty Clevenger
                                             Ty Clevenger




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